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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AMERICAN FOREIGN SERVICE            )
ASSOCIATION, et al.,                )
                                    )
                  Plaintiffs,       )        Civil Action No. 1:25-CV-352
                                    )
            v.                      )
                                    )
DONALD TRUMP, et al.,               )
                                    )
                  Defendants.       )
___________________________________ )


                  FURTHER DECLARATION OF JANE DOE

      I, Jane Doe, declare the following under penalties of perjury:

      1.    I am over 18 years of age and competent to give this declaration. This

declaration is based on my personal knowledge, information, and belief.

      2.    I submitted the Declaration of Jane Doe, Compl. Exh. I. I write to make

further declarations as to the Personal Services Contractor Association (PSCA), of

which I am an Executive Committee Member.

      3.    U.S. Personal Services Contractors (PSCs) are just like direct-hires for

virtually all purposes: If you were in the field with us, you would not know who was

hired as a direct-hire and who was hired as a PSC. We work together, with direct

hires, all as employees of U.S. Agency for International Development (USAID).

However, we are not eligible for programs administered by the Office of Personnel

Management (OPM), and if we are unjustly terminated, we are not eligible to appear

before the Merit Systems Protection Board (MSPB).
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       4.    The programs administered by OPM from which PSCs are statutorily

excluded are Federal Employee Health Benefits (FEHB), Federal Employee Group

Life Insurance (FEGLI), and retirement programs like Federal Employees

Retirement System (FERS). To offer some measure of parity, the Agency for

International Development Acquisition Regulation (AIDAR) generally provides for

the partial reimbursement to PSCs, subject to annual limits, for individually

purchased health and life insurance policies using their post-tax income. USAID has

also established a 401(k) plan through which PSCs can make pre-tax contributions

but without any matching by the Agency. OPM also manages an awards program for

direct-hire personnel across the U.S. government; USAID has an additional awards

program in which PSCs do participate.

       5.    USAID withholds federal and state income taxes for PSCs and issues W-

2s.

       6.    PSCs and their authorized dependents who are posted overseas and

PSCs who travel overseas on official business are issued Diplomatic Passports by the

Department of State. PSCs posted abroad are also eligible for diplomatic titles.

       7.    The PSCA is an Employee Non-Labor Organization within the USAID.

Established in 1999, the Association comprises PSCs employed by USAID both

domestically and abroad. The PSCA, through an elected Executive Committee,

advocates for equitable treatment of PSCs and direct-hire employees regarding

benefits, entitlements, working conditions, and responsibilities, unless precluded by

federal law or regulation.
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      8.     Per the Association’s charter, all PSCs at USAID are automatically

members of the PSCA. The PSCA, then, represents about 500 PSCs stationed

overseas in countries ranging from Armenia to Zimbabwe, and around 600 stationed

in the United States.

      9.     The PSCA is governed by an Executive Committee consisting of up to

seven individuals, elected from among its membership to serve one-year terms. I am

one of those Executive Committee members.

      10.    The PSCA operates under a formal charter, which establishes its

mission, governance structure, and operational framework. The includes regular

elections, member engagement, and formal processes for advocacy and policy

recommendations to USAID leadership.

      11.    Major policy shifts or structural changes within the Association, such as

the establishment of new initiatives or councils, require approval through a General

Assembly vote open to all members.

      12.    The PSCA has consistently engaged in structured advocacy with USAID

leadership, including the Administrator’s Office, the Management Bureau and its

Office of Acquisition and Assistance, the Office of General Counsel, and the Office of

Human Capital and Talent Management, to address critical issues affecting PSCs.

The Association has successfully advocated for numerous policy and regulatory

changes over the years.

      13.    The Association’s Executive Committee also regularly disseminates

information to its members via emails, informational briefings, a public website, and



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other online resources, ensuring that PSCs remain informed of contractual rights and

obligations and to provide updates on policy and regulatory developments.

      14.    Throughout the year, the PSCA Executive Committee conducts surveys

and solicits direct feedback from members to ensure that advocacy priorities align

with the most pressing concerns of PSCs. This engagement allows the Executive

Committee to effectively represent the collective interests of the membership when

interfacing with USAID leadership.

      15.    The Executive Committee regularly engages with individual PSC

members through various channels to ensure timely communication and support. The

Committee maintains an open email inbox where members can submit concerns and

questions, responding to inquiries as they come in. When necessary, the Committee

escalates issues to USAID leadership to advocate on behalf of PSCs. In addition, the

Executive Committee regularly engages with the PSC Ombudsman in OAA to

exchange information regarding key issues affecting PSCs.

      16.    When PSCs engage with the Executive Committee, they do so with the

understanding that the committee’s members serve on a volunteer basis. The

Executive Committee does its best to source recommendations based on documented

past experiences, but its advice is neither legal nor binding in nature.

      17.    Beginning on February 2, 2025, members of the Executive Committee

were progressively locked out of their USAID email accounts, Google Drive, and other

collaboration platforms. Hundreds of the Association’s members similarly lost access

to the USAID network. Specific to the needs of the Executive Committee, this abrupt



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action resulted in the total loss of access to historical records, prior advocacy

documentation, internal communications, and, most critically, its membership roster

and listserv. Consequently, from February 3, 2025, onwards, the Executive

Committee has been unable to formally and thoroughly consult the Association’s

membership on next steps, including possible legal action.

      18.    The forced, unannounced removal from USAID systems also meant that

the Executive Committee faced great difficulty in re-establishing its operations in an

external setting. Some Executive Committee members did not even have each other’s

personal contact information because all prior communication was conducted through

government-provided platforms. It took several days for the Executive Committee to

reconnect and determine how to re-establish its operations outside of USAID systems

without access to its membership roster or other records. USAID’s decision effectively

cut off all avenues of communication between the Executive Committee and its

members and preemptively halted any potential response from the Association.

      19.    Under normal circumstances, if PSCs were considering legal action or

seeking collective legal representation, the Executive Committee would initiate a

General Assembly vote to ensure full participation of its membership in determining

the collective stance of the Association. Due to the abrupt USAID-imposed systems

lockout, however, the Association lacks a mechanism to notify or convene members

and thus cannot conduct a vote of its full membership.

      20.    Given the impact of USAID’s actions on the workforce, I would have

recommended that the PSCA formally join this litigation as a plaintiff. Because PSCs



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are identically situated to USAID direct-hires in nearly all respects, including those

relevant to this case, PSCs have the exact same interest in this litigation as their

direct-hire colleagues represented by the American Foreign Service Association and

the American Federation of Government Employees. The Association and its

members have suffered the same harms, including loss of access to essential

communication channels, loss of safety, and sudden changes to employment-related

rights without consultation or recourse. USAID’s actions have, therefore, directly

prevented the PSCA from exercising its representative function.

      21.    We are hamstrung: The Administration has cut off our way of

communicating with each other. The PSCA exists to help protect and advocate for the

rights of PSCs, ensuring that they receive fair and equitable treatment by the agency.

The recent actions of the agency have severely curtailed the Association’s ability to

fulfill this mission, leaving PSCs vulnerable and without proper collective

representation in this matter.

      22.    I respectfully ask the Court to afford any such relief that it affords to

direct-hire employees also to U.S. Personal Services Contractors.



I declare under penalty of perjury that the foregoing is true and correct.

      Executed on February 9, 2025.



                                        /s/ Jane Doe__________

                                        Jane Doe



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